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                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION


BUBBLEGUM STUFF LTD,
                                                    CASE NO.: 1:23-CV-16562
        PLAINTIFF,

V.
                                                    JUDGE JOHN J. THARP, JR.
THE PARTNERSHIPS AND UNINCORPORATED
ASSOCIATIONS IDENTIFIED ON SCHEDULE A,
                                                    MAGISTRATE JUDGE JEANNICE W. APPENTENG
        DEFENDANTS.


                                      NOTICE OF DISMISSAL

           Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

     Dismissal, with prejudice, as to the following Defendants identified on Schedule A of the

     Complaint:

                   DEF. NO.                      DEFENDANT NAME
                      2            Shenzhen Victory Coming Household Product Co., Ltd.
                      75                                  Boert
                     141                              Joybuy Seller 1



          Dated:     March 29, 2024              Respectfully submitted,

                                                 /s/ Alison K. Carter
                                                 Ann Marie Sullivan
                                                 Alison K. Carter
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                                                 ATTORNEYS FOR PLAINTIFF
